
717 S.E.2d 398 (2011)
STATE of North Carolina
v.
Christon Eugene TUCKER.
No. 281P11.
Supreme Court of North Carolina.
August 25, 2011.
Buren R. Shields, III, Special Deputy Attorney General, for State of N.C.
M. Alexander Charn, Durham, for Tucker, Christon Eugene.
J. Douglas Henderson, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 11th of July 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 25th of August 2011."
